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In The

Court of
Appeals

For The

First District
of Texas

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NO. 01-10-00647-CV

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MIGUEL
ANGEL GONZALEZ GUILBOT AND CARLOS ALBERTO GONZALEZ GUILBOT, Appellants

V.

MARIA DEL CARMEN GUILBOT SERROS DE
GONZALEZ, INDIVIDUALLY AND AS INDEPENDENT ADMINISTRATOR OF THE ESTATE OF MIGUEL
ANGEL LUIS GONZALEZ Y VALLEJO, Appellee



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&nbsp;

On Appeal from the 127th District Court 

Harris County, Texas



Trial Court Cause No. 2010-24891

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MEMORANDUM OPINION

Appellant has filed an unopposed motion to dismiss
the appeal.&nbsp; No opinion has issued.&nbsp; Accordingly, we grant the motion and dismiss
the appeal.&nbsp; See Tex. R. App. P. 42.1(a)(1).

We dismiss all other pending motions as moot.&nbsp; We direct the Clerk to issue the mandate
within 10 days of the date of this opinion.&nbsp;
See Tex. R. App. P. 18.1.

PER CURIAM

Panel
consists of Chief
Justice Radack and Justices Bland and Brown.





